Case 2:22-cv-00319-TOR   ECF No. 89-16   filed 09/23/24   PageID.1382    Page 1
                                    of 5




                           Exhibit O




                                                                Exhibit O Page 1
Case 2:22-cv-00319-TOR   ECF No. 89-16   filed 09/23/24   PageID.1383    Page 2
                                    of 5




                     WSU_00033988-WSU_00033990




                                                                Exhibit O Page 2
   Case 2:22-cv-00319-TOR                 ECF No. 89-16   filed 09/23/24                 PageID.1384          Page 3
                                                     of 5


                                          WASHINGTON STATE
                                                  ATHLET        I   CS




                                                                                            Hand Delivered

           October 18, 2021

           Nicholas R. Rolovich
           1815 SW Casey Court
           Pullman, WA 99163

           Re:       Written Notice of Intent to Terminate for Just Cause

           Coach Rolovich:

           Pursuant to Paragraphs 4.1 through 4.3 of your Employment Agreement as Head Men's Football
           Coach, this letter constitutes notice of the University's intent to terminate your employment for
           just cause.

                 •   You were notified on September 1, 2021, and September 23, 2021, that per Proclamation
                     21-14.1, all state employees, including those in higher education, would be required to be
                     fully vaccinated against COVID-19 via one of the FDA approved vaccines by October
                     18, 2021.

                     The notice stated that if not vaccinated, you could apply for a medical or religious
                     exemption and accommodation through WSU Human Resources (HRS). The University
                     provided notice of the process on August 31, 2021, September 8, 2021, September 29,
                     2021, and October 4, 2021.

                 •   You requested an exemption from the vaccine requirement on religious grounds. Your
                     request was denied on October 18, 2021.

           This action is in accordance with the terms of your contract, signed in April 2020, and amended
           in April 2021. The specific provisions violated include the following:

                 •   Paragraph 1.2.1 requires you to devote your best efforts to the performance of your
                     duties. In particular, you are required to "comply with and support all rules, regulations,
                     policies, and decisions established or issued by the University." Further, you must "abide
                     by all provisions of law." Your failure to comply with the vaccination requirement, which
                     is both a University policy and requirement of law under the Governor's Proclamation,
                     violates these provisions and has rendered you legally unable to perform your duties as
                     Head Coach. Your non-compliance with the vaccine requirement, and the fact that you
                     are now legally unable to fulfill your obligations to the University as Head Coach, also
                     violates Section 4.1.5 of your Employment Agreement, conduct of Employee seriously
                     prejudicial to the best interests of the University or its athletic program, and Paragraph
                     4.1.1.

                 •   Paragraph 4.1.1 prohibits you from engaging in "deliberate and serious violations" of
                     your duties, or "refusal or unwillingness to perform such duties in good faith and to the
                     best of your abilities" As noted in my July 26, 2021, warning letter to you, your contract

                   Washington State University I Department of Intercollegiate Athletics I Office of the Director
Bohler Athletic Complex 110, PO Box 641602, Pullman, WA 99164-1602 509-335-0200 I Fax: 509-335-4501 I www.wsucougars.com


                                                                                                   Exhibit O Page 3
                                                                                                                 WSU_00033988
Case 2:22-cv-00319-TOR           ECF No. 89-16   filed 09/23/24              PageID.1385         Page 4
     Nicholas R. Rolovich                   of 5
     Page 2

            requires you to participate in events, activities, and efforts to foster support for the
            Football program, and your personal decision to forego a COVID-19 vaccination has
            impacted your ability to do so, interfering with your ability to meet with donors and
            others. These activities are a critical part of being a head football coach at a Pac-12
            school. See 1.2.1.2.h. Because of your decisions, WSU, the Football program, and the
            Athletics programs have been subject to several damaging events. These events include
            the following:

            •   Your inability to attend in-person Pac-12 Football Media Day in Los Angeles on July
                27, 2021. Because of your decision to not get vaccinated, you were the only coach
                who did not attend in person. Your decision became the primary story concerning
                football and put our student athletes and other attendees in the position of having to
                address your absence. This was, and continues to be, a major distraction for the
                University, Athletics department, and the Football team.

            •   Your inability to attend any of the regularly scheduled Friday donor lunches. Section
                1.2.1.2.h requires that you participate in events, activities, and/or efforts to foster
                support for the University's Athletic Department and/or the Football program. You
                have not actively participated in donor engagement, foster program support, or
                fundraising. The Friday donor lunch is a critical component of donor outreach, and
                your absence has been prejudicial to the Football program and the Athletics
                department.

            •   Your inability to attend the WSU Football Coaches Show in person that broadcasts
                live from Zeppoz. This is another critical component of donor and fan outreach. By
                not attending the show in person, interest from fans has been negatively impacted.
                Further, you are unable to attend other coaching speaking engagements in person,
                and you are limited in your ability to attend other campus events such as pep rallies
                and other fall sports. Your lack of presence as the Head Coach of WSU's most
                popular and well-known sport is pronounced and has been prejudicial to the Football
                program and the Athletics program.

            •   Your inability to attend live donor meetings, including several donor interactions
                scheduled for July. These events were subsequently canceled. Further, donors have
                declined to engage in personal meetings or remote meetings out of concern for their
                personal safety and the disappointment in the lack of leadership your handling of this
                matter has portrayed. Further, the University and the Athletics department has not
                been able to schedule future donor meetings based on your actions. Several donors
                have revoked gifts or put them on hold until further notice because of your decision.

        •   Paragraph 1.2.1.2 requires you to "Evaluate, recruit, train, and develop student-athletes."
            You also are responsible for establishment of a program identity and approach to
            competition, and the game planning for individual games and the season. You have
            failed to fulfill these obligations by engaging in the following behavior:

            •   You are unable to attend individual position meetings or engage one-on-one with
                players or assistant coaches during practices, team meetings, and other preparatory
                functions. Interactions with assistant coaches and players has been limited and has
                led to poor planning, lack of communication, and a void in leadership.




                                                                                       Exhibit O Page 4
                                                                                                    WSU_00033989
Case 2:22-cv-00319-TOR            ECF No. 89-16   filed 09/23/24              PageID.1386          Page 5
                                             of 5
     Nicholas R. Rolovich
     Page 3


             •    Your ability to travel extensively and recruit has been impacted by your decision.
                  Recruiting has been significantly impacted this year, as evidenced by a notable
                  decline in the number of verbal commitments.

     As the most high-profile employee of WSU and one of the most highly compensated state
     employees in Washington, your choices and behavior also reflect on the University, the Athletics
     Department, and the Football program at all times. In addition to the above, the voicing of
     physical threats regarding a coach we talked about related to our contingency plan was
     completely unacceptable.

     Your conduct has been seriously prejudicial to the best interests of the University and the
     Football program, including putting the University and the Football program in a negative
     national spotlight, and is a violation of your contract. (See paragraph 4.1.5).

     Per Section 4.2 of your Employment Agreement, you have fifteen (15) calendar days to respond
     to me, in writing, with reasons why you should not be terminated. I will respond accordingly
     consistent with the terms of your Employment Agreement.

     Effective immediately you have been placed on paid administrative leave pending the outcome of
     this notice of intent to terminate for just cause. You are not to perform any work on behalf of the
     University. Your WSU email account has been disabled and systems access removed.

     For information regarding your benefits, please visit
     http://hrs.wsu.edu/employees/benefits/separating-employee-information/. If you have specific
     benefits questions, such as options for continuing medical and dental coverage beyond your
     separation date, please contact Human Resource Services at 509.335.4521.

     Sincerely,




     Patrick Chun
     Director of Athletics


    cc:      Athletics Employment File
             HRS Personnel File
             HRS Employment Services




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